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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


ALONZO SHAVERS, AND
KENNETH MCHONE

                      Plaintiffs,                           Case No. 2:21-cv-2120

       v.
                                                            JURY TRIAL DEMANDED
THE OHIO STATE UNIVERSITY,

                      Defendant.


                                         COMPLAINT

       Plaintiffs Alonzo Shavers and Kenneth McHone file this Complaint against Defendant,

The Ohio State University (“OSU” or the “University”). This is a companion case to ten settled

cases: Michael DiSabato and John Does 1-36 v. The Ohio State University, Case No. 2:19-cv-

02237; John Does 37-66 v. The Ohio State University, Case No. 03165; John Does 67-88 v.

The Ohio State University, Case No. 04397; John Does 88-94 v. The Ohio State University,

Case No. 04624; Dave Beaudin, Mathew Barclay and John Does 95-136 v. The Ohio State

University, Case No. 04634; Derek de Jong and John Does 137-139 v. The Ohio State

University, Case No. 05551, John Does 140-150 v. The Ohio State University, Case No. 01188,

John Doe 32 v. The Ohio State University, Case No. 02008, John Does 151-166 v. The Ohio

State University, Case No. 03817, and John Does 167-171 v. The Ohio State University, Case

No. 03817. This case is also related to case John Doe 162 v. The Ohio State University, Case

No. 03817, which has not settled and remains active. As of April 17, 2020, the date of this
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Court’s Order, ECF No. 151, 2-18-cv-692, none of these Plaintiffs were filed. Plaintiffs are filing

this case separately because these are new Plaintiffs to the litigation.

       Plaintiffs allege that Defendant violated Title IX of the Education Amendments of 1972,

20 U.S.C. § 1681, et seq., as follows:

                                  JURISDICTION AND VENUE

       1.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1334 because Plaintiffs allege claims under federal law, specifically Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, et seq.

       2.      Venue is proper in the Southern District of Ohio pursuant to 28 U.S.C. § 1391(b)

because the events giving rise to Plaintiffs’ claims occurred within this district.

                                  PRELIMINARY STATEMENT

       3.      Plaintiffs bring this civil rights lawsuit under Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681, et seq. because OSU had actual notice of and was

deliberately indifferent to the fact that Richard Strauss, M.D., an OSU employee, tenured faculty

member, and the Associate Director of OSU’s sports medicine program, sexually assaulted and

abused hundreds of male OSU student-athletes and other male OSU undergraduates throughout

his almost twenty-year career with the University. OSU officials not only had actual notice of

Strauss’ criminal and unlawful actions, they aided, abetted, and actively concealed Strauss’

sexual predation on OSU’s students.

       4.      As a threshold matter, Plaintiffs admit they consented to receiving medical

treatment while student-athletes at OSU. Plaintiffs, however, did not consent to Strauss doing or

saying anything that was medically unwarranted, inappropriate, or unethical. For numerous




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reasons described below, Plaintiffs were not in a position to judge Strauss’ clinical practices or to

avoid him when seeking medical care.

       5.      Strauss abused Plaintiffs during pre-season physicals and when treating them for

injuries, either through the OSU Athletics Department or OSU’s Sports Medicine Clinic at

Student Health Services. He also sexually harassed student-athletes in the locker rooms and

showers of Larkins Hall, where many teams were based, including wrestling, gymnastics, and

swimming.

       6.      On information and belief, OSU assigned Strauss a locker in every room used by

male athletes for the teams based in Larkins Hall.

       7.      Strauss also used his access to students to sexually assault/abuse students that

were not part of intercollegiate sports.

       8.      OSU designated Strauss as a team physician for many sports. Student-athletes

could not avoid him if they wanted medical treatment. OSU funneled Plaintiffs and other

student-athletes to Strauss with assembly-line efficiency, whereupon Strauss cornered and

sexually assaulted them. He sexually assaulted/abused most of the Plaintiffs more than once, and

some wrestlers between 20-50 times.

       9.      OSU concealed, intentionally ignored, or disregarded athletes’ repeated reports

and other widely known information that indicated Strauss was a threat to his male patients. A

Graduate Assistant Trainer who overlapped with Strauss only one academic quarter noticed

“immediately” that something was “off” with Strauss. “In her view, individuals who overlapped

with Strauss for any significant period of time would have had to have their ‘ear plugged, eyes

shut, and mouth closed not to realize something was off.’” Sexual Abuse Committed by Dr.

Richard Strauss at The Ohio State University, Report of Perkins Coie, LLP, May 15, 2019, p.




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104 (“Report”). Officials turned a blind eye to numerous red flags that Strauss was sexually

abusing his patients, such as: Strauss insisted upon examining patients without any other staff

being present, including students in training; Strauss performed notoriously long and thorough

“hernia checks” during team physicals; athletes' openly commented on the fact that Strauss made

them drop their pants regardless of their medical needs (e.g., to get a case of cauliflower ear

treated); and the fact that Strauss showered with athletes from multiple teams, often took

multiple showers a day, and requested (and received) multiple lockers in Larkins Hall.

       10.     There were other clear signs of Strauss’ predatory behavior. When teams reported

for pre-season physicals, Athletics Department personnel set up stations for each station of the

physical. Strauss always chose to man the “hernia check” station. He took an extended amount

of time with each athlete patient and examined each patient in a room with the door closed.

Strauss’ “hernia checks” frequently took several minutes. Some lasted as long as ten or fifteen

minutes. A line would form outside of Strauss’ exam room as the athletes completed the other

stations for their physicals and anxiously waited for Strauss to exam them. Strauss’ prolonged

genital exams were well-known to the athletes he examined, Athletics Department personnel,

and team coaches. At least one team head coach requested that someone other than Strauss

conduct the hernia checks for team physicals because his athletes complained so much about

Strauss’ methods.

       11.     Strauss disguised his sexual assaults in the context of medical examinations. He

frequently positioned Plaintiffs so that his face was at the same height as their crotches. Strauss

placed his face so close to his patients that they could feel his breath on their genitals. Other

times he had them sit on a bench and spread their legs; he would then roll across the floor on a

wheeled stool and stick his face deep between their legs to perform his exam. Sometimes




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Strauss donned a headlamp and turned off the room lights before putting his head inches away

from patients’ penises. When Plaintiffs asked Strauss why such in-depth and lengthy genital

inspections were necessary, or why he was massaging their genitals, probing their rectums, or

doing or saying other harassing and inappropriate things, Strauss came up with many different

medical explanations. Hernia and lymph node checks were a common explanation. When one

Plaintiff asked Strauss to explain the room lights off/headlamp behavior, Strauss said he was

checking for skin rashes and STDs. He assured the Plaintiff that this technique allowed him to

perform the best possible examination for those kinds of problems.

        12.     Strauss also sexually assaulted students by performing anal and rectal exams that

were rigorous, lengthy, and medically unnecessary. Although less common than genital exams,

they occurred frequently. They were profoundly embarrassing and humiliating to the Plaintiffs

who endured them. Numerous Plaintiffs were assaulted in this manner.

        13.     Some of the Plaintiffs and other student-athletes reported Strauss’ examination

methods to team trainers – particularly football trainer Billy Hill. While precise responses

differed, the gist was almost always the same: it was not a big deal; Strauss did things his way;

Strauss was just being thorough; and/or this had gone on for years. Other benign explanations

were offered. Some Plaintiffs came to believe that Strauss’ examinations were a necessary part

of their participation in intercollegiate athletics that was like a “hazing.”

        14.     In April 2018, OSU authorized the law firm of Perkins Coie, LLP to investigate

whether Strauss had sexually abused student-athletes, and if so, the extent to which OSU knew

about Strauss’ conduct. Perkins Coie, LLP conducted its investigation and issued the Report on

May 15, 2019. Plaintiffs were not aware and had no reason to know of the sexual assaults and

abusive conduct by Dr. Strauss and the widespread institutional knowledge giving rise to their




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causes of action until the report was publicly published. The Report substantiates many of the

allegations made by Plaintiffs in this case and in other Title IX cases presently pending before

this Court. 1 See, e.g., Brian Garrett et. al. v. The Ohio State University, Case No. 2:18-cv-00692-

MHW-EPD (S.D. Ohio); Steve Snyder-Hill et. al. v. The Ohio State University, Case No. 2:18-

cv-00735-MHW-EPD.

           15.      Plaintiffs take no pleasure in bringing this lawsuit. OSU is an esteemed institution

of higher learning, and a majority of the Plaintiffs love OSU dearly and remain devoted members

of The Buckeye Nation.

           16.      Plaintiffs were honored to represent OSU in competitive sports and did their best

to continue the University’s tradition of excellence.

           17.      Plaintiffs attended OSU expecting the University would consistently provide them

with a safe and supportive environment that would help them perform at their best, both

athletically and academically.

           18.      Plaintiffs believed that OSU would make patient/athlete safety one of the

University’s primary concerns.

           19.      Team physicians hold a special relationship of trust and confidence with the

student-athletes they treat.

           20.      Plaintiffs trusted OSU to act in their best interests when selecting, training, and

supervising the team physicians on its faculty.

           21.      Plaintiffs trusted OSU to hire physician faculty members who would respect and

honor the relationship of trust and confidence that must be present between patients and their

physicians.



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    Materials received from Ohio’s Medical Board Contents are redacted from the current version of the Report.


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        22.     Plaintiffs trusted OSU to regularly and competently evaluate the quality and

integrity of the medical services Strauss provided to Plaintiffs.

        23.     Plaintiffs trusted OSU to investigate faithfully all circumstances that indicated a

team physician was unfit to treat Plaintiffs, whether due to acts of sexual assault/abuse or

incompetence.

        24.     Plaintiffs trusted that OSU personnel would not hide, fail to disclose, or disregard

known circumstances that raised a substantial likelihood the Plaintiffs or other student-athletes

were being sexually assaulted, abused, or harassed by Strauss and/or by conditions at Larkins

Hall.

        25.     Plaintiffs expected OSU, an esteemed institution of higher learning, to investigate

the truth about Strauss’ conduct in a timely and competent manner, regardless of how

unfavorable findings might affect the University’s reputation or athletics programs.

        26.     Plaintiffs relied on OSU to confront and stop Strauss’ sexual abuse of Plaintiffs

and other male OSU students.

        27.     Plaintiffs relied on OSU to stop the rampant sexual harassment that student-

athletes, particularly the wrestling team, had to endure in Larkins Hall between 1978 and 1998.

        28.     OSU betrayed Plaintiffs’ trust and utterly failed to meet the legal and ethical

obligations it owed to Plaintiffs and other OSU students. At all times relevant to this Complaint,

OSU officials with authority to institute corrective measures actively concealed, failed to

disclose, and showed deliberate indifference towards circumstances that indicated Strauss was

sexually assaulting and abusing many male OSU athletes he treated.

        29.     On information and belief, OSU personnel who failed to implement corrective

measures despite having actual knowledge of: (a) the risk that Strauss was sexually assaulting




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students, and (b) the sexually hostile environment Larkins Hall presented to athletes on the teams

housed there included (but were not limited to) Athletic Directors and Assistant Athletic

Directors, Head Team Physicians, and team physicians (who were also faculty members).

        30.    At all times relevant to this Complaint, OSU maintained a culture of concealment,

denial, and unwillingness to investigate sexual abuse and sexual harassment of male athletes at

the University. This culture led to OSU’s active concealment of and deliberate indifference

towards continuous complaints and reports about Strauss’ behavior and the conditions at Larkins

Hall. Consequently, Strauss remained hidden in plain sight and continued to abuse Plaintiffs and

other patients throughout his career at the University. Plaintiffs on teams housed in Larkins Hall

continued to be harassed on a daily basis. Both of these threats to student safety remained

unabated for approximately twenty years.

        31.    Only within the past two years have Plaintiffs realized that Strauss’ conduct

constituted sexual assault or sexual abuse.

        32.    Only within the past two years have Plaintiffs had a reasonable basis for believing

that OSU had actual knowledge of the risk Strauss presented to the student-athletes he treated.

        33.    Only within the past two years have Plaintiffs had a reasonable basis for believing

OSU intentionally concealed or showed deliberate indifference to the threat Strauss posed to

them.

        34.    Only within the past two years have the Plaintiffs had reason to know that OSU

administrators in a position to take corrective measures knew about sexually harassing

environment that students and male athletes endured each day in Larkins Hall.

        35.    Even if Plaintiffs had realized more than two years ago that Strauss’ conduct

constituted sexual assault and sexual abuse, Plaintiffs would have had no reasonable basis for




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alleging or concluding that OSU harmed them separately and independently from the harm that

Strauss inflicted on them. Strauss harmed Plaintiffs by sexually assaulting and abusing them.

OSU separately and independently harmed Plaintiffs by failing to protect them from Strauss

despite knowing Strauss was substantially likely to be a sexual predator. Not until within the

past two years would Plaintiffs’ due diligence have allowed them to reasonably infer: (a) what

OSU knew about Strauss while Strauss was on the faculty; or (b) what OSU did or failed to do

with that information.

       36.     Likewise, not until within the past two years would the Plaintiffs whose teams

practiced in Larkins Hall have known: (a) the extent of OSU’s institutional knowledge about the

conditions in Larkins Hall; or (b) what OSU did or failed to do with that information.

                                         THE PARTIES

       37.     Defendant The Ohio State University was at all relevant times and continues to be

a public university organized and existing under the laws of the State of Ohio.

       38.     Defendant OSU receives, and at all relevant times received, federal financial

assistance. Defendant is therefore subject to Title IX of the Educational Amendments of 1972, 20

U.S.C. §1681, et seq.

       39.     Most Plaintiffs were enrolled at OSU as students during Strauss’ employment

with OSU.

       40.     Most Plaintiffs participated in OSU intercollegiate sports teams while enrolled at

OSU.

       41.     Plaintiffs received financial assistance from OSU. Most financial assistance was

linked to their participation on OSU’s intercollegiate sports teams.

       42.     Plaintiff Alonzo Shavers is a resident of the State of Ohio.




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       43.     Plaintiff Alonzo Shavers attended OSU from 1992-1996 and was a member of the

football team for 4 years while he attended OSU.

       44.     Strauss treated Alonzo Shavers approximately 3 times while Alonzo Shavers was

a student athlete on the football team at OSU. Of those 3 times, Strauss sexually

assaulted/abused Alonzo Shavers at least 1 time. Strauss sexually assaulted/abused Alonzo

Shavers by performing a rectal exam where he digitally penetrated Alonzo Shavers under the

guise of a prostate exam. Next, Strauss conducted a long genital exam where Strauss excessively

fondled and moved his hands around Alonzo Shavers’ genitals in a manner that made Alonzo

Shavers feel very uncomfortable. The exam involved Strauss trying to arouse Alonzo Shavers.

       45.     Alonzo Shavers recalls asking Strauss what he was doing, and Strauss responded

that he was a walk-on player and cannot be complaining.

       46.     Alonzo Shavers felt uneasy around Strauss in his exam. But that was not a basis

for questioning Strauss’ clinical competence. Plus, OSU had hired and assigned Strauss to be a

physician. Alonzo Shavers expected that OSU demanded the same excellence from Strauss that

they demanded from Alonzo Shavers. And Alonzo Shavers was raised to believe that doctors

help their patients, not hurt them.

       47.     Before May 15, 2019, Alonzo Shavers did not know Strauss had sexually

assaulted him. In short, nothing Strauss did placed Alonzo Shavers on notice that Strauss might

have been sexually assaulting him. Likewise, OSU did nothing to put Alonzo Shavers on notice

that Strauss was a sexual predator.

       48.     Before May 15, 2019, Alonzo Shavers had no reason to suspect that one or more

OSU administrators, who could have instituted corrective measures, knew Strauss was a sexual

predator. For decades, OSU had kept secret the fact that Strauss was a sexual predator.




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       49.     After May 15, 2019, Alonzo Shavers learned that Strauss’ examination in which

Strauss manipulated Alonzo Shavers’ genitals and digitally penetrated him was medically

unwarranted, improper, and even criminal. Alonzo Shavers also learned that Strauss was a serial

sexual offender. Then Alonzo Shavers learned that OSU knew Strauss was sexually assaulting

student patients, where Strauss sexually assaulted many other OSU students.

       50.     OSU showed more than deliberate indifference by placing Alonzo Shavers under

Strauss’ care. OSU betrayed Alonzo Shavers in the most extreme possible manner. If OSU had

exercised the slightest degree of care for Plaintiffs and other persons Strauss treated, OSU never

would have exposed Alonzo Shavers or any other Plaintiff to Strauss or any other physician who

had a history of sexually assaulting his patients.

       51.     Plaintiff Kenneth McHone is a resident of the State of Ohio.

       52.     Plaintiff Kenneth McHone attended OSU from 1993-1999.

       53.     Strauss treated Kenneth McHone approximately 2 times while Kenneth McHone

was a student at OSU, prior to 1998. Of those 2 times, Strauss sexually assaulted/abused Kenneth

McHone both times. Strauss sexually assaulted/abused Kenneth McHone by conducting long

genital exams where Strauss would excessively fondle and move his hands around Kenneth

McHone’s testicles and penis in a manner that made Kenneth McHone feel very uncomfortable.

       54.     Kenneth McHone recalls Strauss giving him extended physicals even when he

was seeing him for an unrelated sickness or ailments. The exams involved Strauss trying to

arouse Kenneth McHone. Strauss would tell Kenneth McHone that he had to check him as he

proceeded to fondle him.

       55.     Kenneth McHone felt uneasy around Strauss in his exams. But that was not a

basis for questioning Strauss’ clinical competence. Plus, OSU had hired and assigned Strauss to




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be a physician. Kenneth McHone expected that OSU demanded the same excellence from

Strauss that they demanded from Kenneth McHone. And Kenneth McHone was raised to believe

that doctors help their patients, not hurt them.

       56.     Before May 15, 2019, Kenneth McHone did not know Strauss had sexually

assaulted him. In short, nothing Strauss did placed Kenneth McHone on notice that Strauss might

have been sexually assaulting him. Likewise, OSU did nothing to put Kenneth McHone on

notice that Strauss was a sexual predator.

       57.     Before May 15, 2019, Kenneth McHone had no reason to suspect that one or

more OSU administrators, who could have instituted corrective measures, knew Strauss was a

sexual predator. For decades, OSU had kept secret the fact that Strauss was a sexual predator.

       58.     After May 15, 2019, Kenneth McHone learned that Strauss’ examinations in

which Strauss manipulated Kenneth McHone’s genitals were medically unwarranted, improper,

and even criminal. Kenneth McHone also learned that Strauss was a serial sexual offender. Then

Kenneth McHone learned that OSU knew Strauss was sexually assaulting student patients, where

Strauss sexually assaulted many other OSU students.

       59.     OSU showed more than deliberate indifference by placing Kenneth McHone

under Strauss’ care. OSU betrayed Kenneth McHone in the most extreme possible manner. If

OSU had exercised the slightest degree of care for Plaintiffs and other persons Strauss treated,

OSU never would have exposed Kenneth McHone or any other Plaintiff to Strauss or any other

physician who had a history of sexually assaulting his patients.

                                                   STRAUSS

       60.     OSU employed Richard Strauss, M.D., as a faculty member from September 1978

until March 1, 1998.




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        61.     In 1978, Strauss was hired as an Assistant Professor of Medicine in the

Pulmonary Disease Division of the Department of Medicine.

        62.     By 1980, Strauss was Associate Director of the Sports Medicine Program. In

1981, Strauss began an appointment in the Athletics Department and expanded his clinical duties

to the Sports Medicine Clinic at University Health Services. By 1982, Strauss’ primary

affiliation was with the Department of Preventive Medicine.

        63.     OSU granted Strauss tenure as an associate professor in 1983. OSU made Strauss

a full professor with tenure in 1992. Strauss voluntarily retired in March 1998 and was approved

by the Board of Trustees for emeritus status in the School of Public Health. Emeritus status was

granted without the review or approval of the Dean of the College of Medicine and Public

Health. (Report, p. 31,32.)

        64.     Throughout his employment, Strauss provided medical services to various OSU

sports teams. Strauss initially served as a team physician for the wrestling, swimming, and

gymnastics teams, which were based at Larkins Hall. At that time, Larkins Hall was OSU’s

physical education building and aquatics facility.

        65.     “Over the years, Strauss’ responsibilities as a team physician expanded beyond

just the teams based out of Larkins, and included assignments with teams and in facilities across

campus[,]” (Report at 2.) Around 1980, Strauss began treating patients at the Sports Medicine

Clinic at Student Health Services. He was ultimately appointed Chief Physician of the Sports

Medicine Clinic. As time went on, Strauss treated students “who participated in a wide range of

sports including hockey, cheerleading, volleyball, soccer, track, golf, baseball, tennis, water polo,

and football.” (Id. at 34).




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       66.      Strauss’ appointment with Student Health ended in 1996 following an

investigation into student complaints about Strauss’ sexual misconduct during medical exams.

                    STRAUSS’ ACTS OF SEXUAL ASSAULT AND ABUSE

       67.      Strauss abused Plaintiffs and OSU students in one or more of the following ways

(as categorized by the Report):

             a. In the context of a medical examination that caused the student to reach

                ejaculation or nearly reach ejaculation;

             b. In the context of a medical examination that caused the student to reach erection

                or nearly reach erection;

             c. Unnecessary fondling or groping of genitals in the context of a medical

                examination, or medically unnecessary examinations of the genitals or rectum.

             d. Examination techniques that included: unnecessary nudity; excessive touching of

                non-genital/non-rectal areas of the student’s body; inappropriate verbal

                commentary or sexually charged questioning; lack of medical gloves for genital

                examinations; unnecessarily invasive physical positions; medical treatment

                outside a clinical setting; and quid pro quo arrangements; and

             e. Inappropriate and sexually abusive conduct outside of the examination room,

                including showering alongside student-patients, loitering in student-athletes’

                locker rooms and engaging in voyeuristic behavior, and initiating fraternization

                with patients. (Report at 39)

       68.      Strauss committed these acts of sexual abuse and harassment consistently and on

a daily basis throughout his career at OSU.

       69.      Strauss committed these acts of sexual abuse while an OSU faculty member.




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                   WHY PLAINTIFFS’ HAD DIFFICULTY REALIZING OR
                 REPORTING STRAUSS’ CONDUCT AS SEXUALLY ABUSIVE

        70.      Plaintiffs were vulnerable to Strauss’ sexual abuse and many were not able to

identify Strauss’ conduct as sexual abuse when it occurred. Many factors caused this result, as

set forth below.

        71.      Plaintiffs were treated by Strauss in his capacity as a Team Physician through the

Athletics Department or at the Sports Medicine Clinic. He was the person officially designated to

treat them.

        72.      Plaintiffs had to pass a pre-season physical in order to participate in their sport.

        73.      Before attending OSU, some Plaintiffs had not seen a doctor without their parents

being present.

        74.      Plaintiffs tended to attribute Strauss’ surprisingly “rigorous” genital and rectal

examinations to the fact that the physical requirements of intercollegiate sports were much

greater than for high school competition.

        75.      Plaintiffs were sexually assaulted/abused by Strauss in the context of a purported

medical examination, such as when seeing him for a pre-season physical or for a sports-related

injury. They came into contact with him under legitimate circumstances and were more likely to

interpret what took place in the examination room within that framework of legitimacy.

        76.      When Strauss abused Plaintiffs, male sexual abuse was not a commonly

acknowledged problem or a commonly discussed topic among non-educators or people outside

the fields of medicine and counseling.

        77.      Plaintiffs were brought up to believe that doctors are trustworthy and do not

intentionally hurt their patients.

        78.      Plaintiffs were brought up to believe that a “good” patient is a compliant patient.



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       79.     Plaintiffs treated by Strauss were placed in a vulnerable position, both physically

and emotionally, when Strauss examined them. They were not psychologically predisposed to

question Strauss’ clinical practices.

       80.     There was a huge disparity between Strauss’ medical knowledge and the

Plaintiffs. They had no standing to challenge his explanations for the things he did to them.

       81.     Plaintiffs were on Strauss’ “turf” when he examined them in his office with the

door closed. Strauss’ psychological and educational advantage over each athlete in the

examination room was just as great as the athlete’s physical advantage over Strauss would have

been if they had competed against each other in the athlete’s chosen sport.

       82.     Plaintiffs went into exams, particularly pre-season physicals, expecting their

doctors to touch them. They knew that doctors often have to touch their patients as part of their

work. Plaintiffs had neither the experience nor education to know the limits of appropriate

physical contact during medical examinations.

       83.     Plaintiffs attended OSU believing its doctors and medical faculty would inform

patients about the medical services they provided to them to the extent they were legally or

ethically required to do so.

       84.     Plaintiffs entered Strauss’ examination rooms presuming that what occurred in a

doctor’s office was supposed to be confidential. Even under the most normal circumstances,

Plaintiffs wanted their genital or rectal examinations to remain confidential because such topics

were embarrassing to discuss. When Strauss’ examinations became overly aggressive or lingered

too long in intimate areas, it made more sense for Plaintiffs to chalk a feeling that something was

wrong up to them feeling unwarranted embarrassment or shame. The alternative was to accuse a

tenured professor of committing sexual assault and to risk one’s athletic scholarship.




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       85.      Plaintiffs maintained a special relationship with OSU because they were attending

on athletic scholarships. Many needed their athletic scholarship to stay in school. They despised

Strauss’ medical exams but were willing to endure them if that was a requirement to keep their

scholarships.

       86.      Plaintiffs maintained a team mentality. No teammate wanted to complain about

something he believed his other teammates were having to endure, no matter how unpleasant the

experience.

       87.      Some Plaintiffs feared being ridiculed and ostracized if they complained to

teammates about the sexual undertones they perceived during Strauss’ medical examinations and

their teammates did not admit to having similar experiences with Strauss.

       88.      OSU teams always compete at the highest possible level. Plaintiffs were therefore

expected to perform at their best. That required Plaintiffs to make sacrifices and go the extra mile

with every aspect of their training and preparation. Plaintiffs were not in a position to judge

whether a reputed world-class sports physician’s overly thorough examinations were improper

just because things felt wrong or overly invasive. Plaintiffs thought Strauss to be an elite sports

doctor, just like they were elite athletes. Plaintiffs also thought that OSU was a reputable and

renowned institution that would protect the interests and well-being of their student athletes and

act on any reports of inappropriate behavior by their faculty. Strauss’ “thoroughness” felt,

extreme, embarrassing, and humiliating to the Plaintiffs, but Plaintiffs believed his physicals

were a difficult step forward in their quest for excellence and thought that OSU would have

stopped the behavior if it was not furthering that quest.

       89.      Plaintiffs, as athletes, were expected to be tough and not to complain.




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       90.     OSU controlled every aspect of how Strauss interacted with the Plaintiffs. OSU

provided the facilities, designated Strauss as their doctor, and controlled their scholarships.

Plaintiffs had no say in who treated them.

       91.     To the extent any Plaintiffs may have complained about this conduct by Strauss,

OSU failed to act upon or otherwise dismissed these concerns.

       92.     None of the Plaintiffs had/have received medical education or training, so they

had/have no knowledge of medical examination techniques for diagnosing or treating hernias,

swollen lymph nodes, or hamstring tears, or medical conditions of the penis, testicles, rectum,

prostate, or anus.

       93.     None of the Plaintiffs have been trained or educated as to what constitutes

inappropriate physical conduct in the context of a doctor-patient relationship.

       94.     None of the Plaintiffs have ever been educated or trained regarding what

comments or questions are inappropriate for a physician to make during a medical examination.

       95.     When Strauss sexually assaulted/abused Plaintiffs in a clinical setting, many of

them felt confused as to whether abuse had, in fact, occurred. While Plaintiffs had strong

negative emotions and many felt his exams were medically inappropriate, they also understood

that feelings are not facts. Many of them did not appreciate until within the past two years that

Strauss touched them in an unlawful manner.

       96.     Plaintiffs were expressly or impliedly misled by OSU trainers, coaches, and

employees in the Athletics Department into believing that Strauss’ sexually abusive examination

methods and statements, though unpleasant and embarrassing, were medically acceptable

practices.




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           97.    Plaintiffs were unlikely to think Strauss was committing an act of sexual violence

by manipulating their genitals for extended periods because everyone talked openly about

Strauss’ over-the-top Strauss’ genital exams. To a young college student, how could something

discussed so openly actually be a criminal act? Strauss’ insistence upon his rigorous genital and

rectal exams became an accepted, albeit despised, part of being treated. Plaintiffs’ only recourse

was to make nervous jokes in light of their powerlessness over their predicament. A Plaintiff

recalls that during his freshman physical, teammates outside Strauss’ closed examination room

laughed that it was Plaintiff’s “first time” – as though Plaintiff was losing his virginity.

           98.    Not until within the past two years have Plaintiffs had a reasonable basis for

believing OSU had actual knowledge Strauss was sexually abusing male students in a clinical

setting.

           99.    Not until within the past two years have Plaintiffs had a reasonable basis for

believing that OSU concealed or remained deliberately indifferent to the substantial risk that

Strauss was sexually abusing them and other male OSU students, particularly student-athletes.

           100.   Left to their own means, Plaintiffs had no reasonable way of knowing that OSU

had actual knowledge Strauss was sexually abusing male students in a clinical setting. Plaintiffs

also had no way of learning the awful truth about what OSU knew and when, or how OSU chose

to permit their continued sexual abuse by Strauss. No exercise of reasonable due diligence would

have revealed to them how OSU’s acts and omissions caused Plaintiff to suffer independent

injuries from the injuries caused by Strauss.




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         OSU’S DELIBERATE INDIFFERENCE TOWARDS STRAUSS’ CONDUCT

       101.     “Beginning as early as Strauss’ first year at OSU – and persisting throughout his

nearly two decades at the school – students and University staff reported and referred complaints

about Strauss to various University employees.” (Report at 2).

       102.    On information and belief, at all times relevant to this Complaint, persons with

the authority to cut-off Strauss’ access to patients, to prevent Strauss from sexually abusing

patients in a clinical setting, or to implement other corrective measures had, at minimum, actual

knowledge there was a substantial likelihood that Strauss was sexually assaulting and abusing

male student-athletes and other male OSU students.

       103.    As early as 1979, OSU officials with authority to institute corrective measures

had information indicating that Strauss posed “a substantial risk of sexual abuse” to male athletes

on OSU’s intercollegiate sports teams. Among other things, “[p]ersonnel in the University’s

Sports medicine program and Athletics Department were aware that Strauss was conducting

genital examinations on male athletes that were unusually prolonged, and that Strauss refused to

allow athletic training staff to be present for these protracted genital examinations.” (Report at 2)

       104.    Through administrators, faculty, and staff, OSU had actual notice of Strauss’

sexually abusive conduct. OSU, however, dismissed, disregarded, minimized, refuted, denied,

silenced, and even concealed complaints about Strauss’ sexual misconduct. At best, OSU chose

not to act on information that alerted University faculty, staff, and administrators to a substantial

risk that Strauss was sexually abusing Plaintiffs and other male OSU athletes. On information

and belief, OSU personnel who were alerted to compelling evidence of Strauss’ sexually

predatory conduct, but failed to take meaningful action that could have prevented Plaintiffs’

injuries, include: Athletic Directors, Assistant Athletic Directors and Associate Athletic




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Directors; and Head Team Physicians and several team physicians (who were also faculty

members).

        105.   As early as 1979, personnel in the Athletics Department and in the University’s

Sports Medicine Program knew that Strauss conducted prolonged genital examinations on male

students and refused to allow any OSU personnel to witness the examinations. Such personnel

also knew “that Strauss showered alongside the male students at Larkins Hall – a practice unique

to Strauss among the other team physicians and a practice that the student-athletes repeatedly

complained about to their coaches.” (Report at 2)

        106.   Additionally, nurses at Student Health Services worried that Strauss was engaging

in sexual conduct with patients because he often showed up unannounced to treat patients not on

the schedule, took unusually long times examining them, conducted examinations behind closed

doors, and failed to fill out medical records documenting the medical services he provided.

        107.   Strauss was never disciplined for failing to create or complete medical records,

even though such records are standard medical practice and important to providing continuity of

care.

        108.   By failing to insist that Strauss properly document all patient encounters, OSU

made it easy for Strauss to lie about every aspect of what took place during patient visits, or even

to deny that he had treated a particular student.

        109.   OSU never told Strauss to stop showering with the athletes.

        110.   OSU never ordered Strauss to have a third person in the room whenever he was

treating a male patient.

        111.   OSU did not diligently follow up on any of the rumors or reports regarding

Strauss until 1994.




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       112.    At all relevant times, OSU also did not have a meaningful complaint or dispute

resolution process for allegations of faculty sexual harassment or abuse. On information and

belief, OSU’s faculty dispute procedure instructed complainants to attempt an informal

resolution, i.e., a mediation, with the faculty member at issue before going through other

channels. It made no sense to recommend that victims of sexual abuse and harassment try to

negotiate a resolution with their abusers before seeking formal redress.

       113.    At the end of the day, OSU failed the Plaintiffs and Strauss’ other victims in every

imaginable way. It effectively gave Strauss a green light to prey upon male OSU students as he

saw fit. Strauss took full advantage of every opportunity OSU gave him to assault, abuse, and

harass Plaintiffs and other male OSU students.

                              CONDITIONS AT LARKINS HALL

       114.    During the Strauss years, Larkins Hall was in and of itself a constant source of

sexual harassment for the male members of the athletics teams based inside it. Larkins Hall was

home to a number of OSU sports teams, including wrestling, gymnastics, and swimming. While

Strauss participated in the sexual harassment that took place in Larkins Hall, he did not

independently create the sexually hostile environment that affected the Plaintiffs.

       115.    All male university faculty and students were allowed to use the same showers as

the wrestling team. An aggressively voyeuristic culture developed where certain non-athletes

showered at the same time as wrestlers and soaped their groins vigorously while watching the

wrestlers shower. These individuals, including Strauss, leered at the wrestlers while watching

them shower. The voyeurs often stayed in the showers until all the wrestlers had finished – often

for an hour or longer. Some of these individuals were OSU faculty. When the wrestling team




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changed its practice time, many of the voyeurs shifted their shower times to coincide with the

wrestling team’s new schedule.

       116.    Wrestlers were frequently approached in the bathroom and showers and

propositioned for sexual encounters. One Plaintiff even had notes put in his locker asking him to

meet up for sex.

       117.    The harassment was so constant that one wrestler called getting to and from the

showers “running the gauntlet.”

       118.    The wrestling room and spaces around it, including the bathroom and a stairwell,

became a popular hangout for sexual encounters. Coach Hellickson found people having sex in a

bathroom stall, in a stairwell, in the wrestling room, and in other areas. It was not uncommon for

Hellickson to see people engaging in sexual activity inside Larkins Hall.

       119.    One of the Plaintiffs, a wrestler, was sexually assaulted by a man who grabbed

and tried to fondle him as the wrestler was showering. The resulting physical confrontation

worried Hellickson about the possibility things might get violent in the future. Larkins Hall was

not a safe space for the male athletes who shared lockers or facilities with non-team members.

       120.    Hellickson repeatedly complained to OSU administrators about the environment

in Larkins Hall because the conditions seriously impacted the psyche and morale of his wrestlers.

       121.    Hellickson requested a separate team shower area. OSU denied his request.

       122.    Hellickson begged to have the wrestling team moved to another building. OSU

denied his request.

       123.    When Hellickson tried to get people to leave because they were ogling the

wrestlers and taking hour-long showers, they said it was their right to shower when and for as




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long as they wanted. They denied staring at the wrestlers. University police would not make

them leave.

        124.    Larkins Hall became an unsafe space and sexually hostile environment for

wrestlers and some of the other male athletes whose teams were based there.

                                       CLAIM FOR RELIEF
                                    COUNT I: Violation of Title IX
                                      20 U.S.C. § 1681(a), et seq.
                                       Heightened Risk Claim

        125.    Plaintiffs incorporate by reference the allegations in all previous paragraphs as if

fully stated here.

        126.    Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a),

states: “No person in the United States shall, on the basis of sex, be excluded from participation

in, be denied the benefits of, or be subjected to discrimination under any education program or

activity receiving Federal financial assistance . . . .”

        127.    Title IX is implemented through the Code of Federal Regulations. See 33 C.F.R.

Part 106. 33 C.F.R. § 106.8(b), which provides: “. . . A recipient shall adopt and publish

grievance procedures providing for prompt and equitable resolution of student and employee

complaints alleging any action which would be prohibited by this part.”

        128.    As explained in Title IX guidance issued by the U.S. Department of Education’s

Office for Civil Rights, sexual harassment of students is a form of sex discrimination covered by

Title IX.

        129.    Sexual harassment is unwelcome conduct of a sexual nature, including

unwelcome sexual advances, requests for sexual favors, and other verbal, nonverbal, or physical

conduct of a sexual nature.




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       130.    Title IX covers all programs of a school that receives any federal financial

assistance, and covers sexual harassment—including sexual assault—by school employees,

students, and third parties.

       131.    At all relevant times, OSU received federal financial assistance and is therefore

subject to Title IX.

       132.    Title IX required OSU to promptly investigate all allegations of sexual

harassment, including sexual assault and abuse.

       133.    Strauss committed his unlawful acts while working for OSU as a tenured faculty

member, Team Physician, and Sports Medicine Physician.

       134.    Strauss’ sexual assault, abuse, molestation, and harassment of Plaintiffs—which

included, among other things, fondling their testicles, fondling their penises, digitally penetrating

their rectums, rubbing his erect penis on their bodies, and making inappropriate sexualized

comments—was sex discrimination under Title IX.

       135.    OSU was required to promptly investigate and address Plaintiffs’ (and other OSU

students’) allegations, reports and/or complaints of sexually abusive or harassing behavior by

Strauss.

       136.    OSU had actual knowledge of the serial sexual assault, abuse, and molestation

committed by Strauss.

       137.    Specifically, OSU knew about Strauss’ sexual assault, abuse, and molestation

through OSU personnel with authority to take corrective action to address it. Such personnel

included but were not limited to: Athletic Directors and Assistant Athletic Directors, and Head

Team Physicians and several team physicians (who were also faculty members).




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       138.    Throughout Strauss’ 20-year tenure at OSU, students, student-athletes, and

coaches conveyed complaints and concerns to OSU administrators and employees about Strauss’

inappropriate sexual conduct.

       139.    Given the magnitude of Strauss’ abuse—involving students and student- athletes

he evaluated and treated over two decades—it would be implausible for OSU to claim that it did

not know about Strauss’ sexual abuse.

       140.    Nonetheless, OSU did nothing to address the complaints and concerns about

Strauss.

       141.    OSU’s failure to respond promptly and adequately to allegations of Strauss’ abuse

constitutes sex discrimination, in violation of Title IX.

       142.    By its acts and omissions, OSU acted with deliberate indifference to the sexual

abuse and harassment that Plaintiffs and other male OSU students were experiencing. OSU’s

deliberate indifference included, without limitation:

           a. Failing to respond to allegations of Strauss’ sexual assault, abuse, and

               molestation;

           b. Failing to promptly and adequately investigate allegations of Strauss’ sexual

               assault, abuse, and molestation;

           c. Requiring male athletes to see Strauss for annual physicals and medical treatment,

               despite widespread knowledge and complaints about Strauss’ abuse;

           d. Allowing Strauss (and other sexual predators) to roam freely in Larkins Hall;

           e. Allowing Strauss to work as a physician in Student Health Services, despite

               widespread knowledge and complaints about Strauss’ abuse of male student-

               athletes;




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           f. Failing to adequately supervise Strauss, after learning that he posed a substantial

               risk to the safety of male students and student-athletes;

           g. Failing to require that Strauss properly document all patient encounters;

           h. Failing to take corrective action to prevent Strauss from sexually assaulting,

               abusing, and molesting other students; and

           i. Failing to have in place an effective sexual harassment policy that allowed

               students to bring complaints without first having to try to resolve complaints of

               sexual harassment informally with the alleged abuser.

       143.    OSU’s failure to promptly and appropriately investigate, remedy, and respond to

complaints about Strauss’ sexual misconduct caused Plaintiffs (and other male OSU students) to

experience further sexual harassment and/or made them vulnerable to it.

       144.    OSU’s failure to promptly and appropriately investigate, remedy, and respond to

complaints about Strauss’ sexual misconduct created a sexually hostile environment that

effectively denied Plaintiffs access to educational opportunities and benefits at OSU, including

appropriate medical care.

       145.    As a direct and proximate result of OSU’s violation of Plaintiffs’ rights under

Title IX, Plaintiffs have suffered and continue to suffer emotional distress, physical

manifestations of emotional distress, mental anguish, fear, depression, anxiety, trauma, disgrace,

embarrassment, shame, humiliation, loss of self-esteem, and loss of enjoyment of life; were

prevented and continue to be prevented from obtaining the full enjoyment of life; have sustained

and continued to sustain loss of earnings and earning capacity; and have incurred various

personal expenses.




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                               COUNT II: Violation of Title IX
                        20 U.S.C. § 1681(a), et seq. Hostile Environment

        146.    Plaintiffs incorporate by reference the allegations in all previous paragraphs as if

fully stated here.

        147.    Plaintiffs whose teams were based out of Larkins Hall between 1978 and 1998

(collectively “Larkins Plaintiffs”) were entitled to use the athletics facilities free from sexual

harassment. However, the pervading and constant sexual harassment they received within

Larkins Hall created a hostile environment. The hostile environment these Larkins Plaintiffs

suffered in Larkins Hall facilities was so severe, pervasive, and objectively offensive that it

effectively barred said Larkins Plaintiffs from access to numerous educational opportunities and

benefits, including but not limited to: full use and enjoyment of practice facilities, showers, and

locker rooms; and full use and enjoyment of their athletic scholarships and memberships on

OSU’s sports teams.

        148.    The sexually hostile environment inside Larkins Hall during the aforementioned

period constituted sex discrimination in violation of Title IX.

        149.    Between 1978 and 1998, OSU officials in a position to implement corrective

measures had actual knowledge that the Larkins Plaintiffs and other male OSU student-athletes

were being subjected to a sexually hostile and abusive environment inside Larkins Hall.

        150.    OSU owed the Larkins Plaintiffs a duty to investigate and remedy the conditions

that made Larkins Hall a sexually hostile and abusive environment.

        151.    Such OSU officials showed deliberate indifference towards the safety of the

Larkins Hall Plaintiffs and other male student-athletes who used the Larkins Hall facilities

between 1978-1998.




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       152.    OSU violated Title IX by failing to remedy the sexually hostile and abusive

environment in Larkins Hall.

       153.    As a direct and proximate result of OSU’s violation of the Larkins Plaintiffs’

rights under Title IX, the Larkins Plaintiffs have suffered and continue to suffer emotional

distress, physical manifestations of emotional distress, mental anguish, fear, depression, anxiety,

trauma, disgrace, embarrassment, shame, humiliation, loss of self-esteem, and loss of enjoyment

of life; were prevented and continue to be prevented from obtaining the full enjoyment of life;

have sustained and continued to sustain loss of earnings and earning capacity; and incurred

various personal expenses.

       WHEREFORE, Plaintiffs respectfully request that this Court:

       (a)     Enter judgment in favor of Plaintiffs on their claim for discrimination under

Count I Title IX against Defendant The Ohio State University;

       (b)     Enter judgment in favor of the Larkins Plaintiffs on their claim for discrimination

under Count II Title IX against Defendant The Ohio State University;

       (c)     Declare Defendant The Ohio State University’s conduct in violation of Title IX of

the Education Amendments of 1972;

       (e)     Award Plaintiffs compensatory damages in amounts to be established at trial,

including, without limitation, payment of Plaintiffs’ medical and other expenses incurred as a

consequence of the sexual abuse and/or harassment and The Ohio State University’s deliberate

indifference; damages for deprivation of equal access to the educational opportunities and

benefits provided by The Ohio State University; and damages for past, present and future

emotional pain and suffering, ongoing mental anguish, loss of past, present and future enjoyment

of life, and loss of future earnings and earning capacity;




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       (f)    Award Plaintiffs pre-judgment and post-judgment interest;

       (g)    Award Plaintiffs their court costs and expenses, including attorney’s fees,

pursuant to 41 U.S.C. § 1988(b); and

       (h) Grant such other relief as this Court deems just and proper.

                                            Respectfully submitted,



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